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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------X
SAKIA FLETCHER,
                                                                                     Docket No. 20-CV-4163
                                            Plaintiff,                               (VEC) (SDA)

                    -against-

MEDGAR EVERS COLLEGE, CITY UNIVERSITY OF NEW YORK,
RUDOLPH CREW, in his capacity as President of Medgar Evers College,
FELIX V. MATOS RODRIGUEZ, in his capacity as Chancellor of the
City University of New York, ALEXIS MCLEAN, individually and in her
Capacity as Dean of Medgar Evers College, JOHNATHON P.
HARDAWAY, individually and in his capacity as Chief Legal Officer for
Medgar Evers College, and COUNCILWOMAN LAURIE CUMBO

                                               Defendants.
---------------------------------------------------------------------------------X




                         MEMORANDUM OF LAW OF
         DEFENDANTS DR. RUDOLPH CREW AND JOHNATHON HARDAWAY
                 IN SUPPORT OF THEIR MOTION TO DISMISS




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                                  PRELIMINARY STATEMENT

         Medgar Evers College President Dr. Rudolph Crew (“Crew”) and Chief Legal Officer

Johnathon P. Hardaway, Esq. (“Hardaway”) (collectively, the “Moving Defendants”) are not

alleged to have been personally involved in the actions complained of by former Medgar Evers

College (“MEC”) student and plaintiff Sakia Fletcher (“Fletcher”). As a result, none of the

federal causes of action asserted against the Moving Defendants pursuant to 42 U.S.C. § 1983 can be

sustained and must, therefore and respectfully, be dismissed.

        Plaintiff concedes that Dr. Crew is named solely in his “official capacity” as MEC’s

President. For that reason, all claims against Dr. Crew, which are duplicative of the identical claims

asserted against MEC, should be dismissed. The claims against Hardaway in his official capacity

are similarly redundant and for the same reason should be dismissed.

        Even if the federal claims for First Amendment retaliation, procedural due process and

falsification of evidence could be maintained, the lack of personal involvement by the Moving

Defendants is fatal to them. As it relates to the procedural due process claim, plaintiff’s allegations

establish that she was not denied any due process because the only alleged procedural impropriety

during plaintiff’s disciplinary hearing that even remotely implicates Hardaway (the determination

that the proceeding be closed) was not the subject of a timely objection or motion by plaintiff during

her hearing. As a result, she waived any right to assert a due process violation. In addition, plaintiff

had an adequate post-deprivation remedy in the form of a New York Civil Practice Law and Rules

(“CPLR”) Article 78 proceeding had she been disciplined as the result of the hearing. The

disciplinary charges at issue, however, were dismissed at the hearing, making it difficult to

understand the nature of the procedural due process violation that can still exist given plaintiff’s

success at the hearing.
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           With regard to plaintiff’s state law claims (assuming the Court exercises supplemental

jurisdiction after the dismissal of the federal claims) against the Moving Defendants, the breach of

contract claim must be dismissed because plaintiff’s implied contract existed as between her and

MEC/the City University of New York (“CUNY”), not the Moving Defendants. Accordingly,

there is no privity as between these parties. A claim for tortious interference with contract must

also be dismissed to the extent that the Moving Defendants are not “third parties” for purposes of

this claim, plaintiff fails to allege their specific knowledge of the contract and because there is no

allegation of direct action taken by the Moving Defendants to interfere with the contract.

           Plaintiff’s abuse of process claim also fails on several grounds, including that the student

disciplinary hearing at issue is not a judicial proceeding for purposes of the claim, because there

is no allegation of the Moving Defendants’ actual participation in the hearing and due to the lack

of any assertion that the Moving Defendants’ used the hearing for their supposed collateral

objective after the commencement of the proceeding. Finally, plaintiff’s claim for a violation of

the New York State Freedom of Information Law (“FOIL”) is time barred and must be

dismissed.

           For these reasons, as well as those set forth in more detail below, the Moving Defendants

respectfully request that the Court dismiss the Complaint1 in its entirety as asserted against them.

                                           STATEMENT OF FACTS

           As alleged in the Complaint, Fletcher is a resident of the Bronx and a student at Medgar

Evers College. See Ex. A at ¶¶ 23-24.2 Defendant CUNY is the public university system of

New York City and has its main corporate office at 205 E. 42nd Street, New York, New York


1
    The Complaint is attached as Exhibit A to the Decl. of Matthew J. Mehnert, dated Dec. 1, 2020 (“Mehnert Decl.”).
2
    Subsequent to the incidents at issue, Fletcher graduated from MEC. See Mehnert Decl., at ¶ 5.


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10017. See id. at ¶¶ 28-33. Defendant MEC, which is located at 1650 Bedford Avenue #2010,

Brooklyn, New York 11225, is part of, and controlled by, CUNY, and is subject to the CUNY

Bylaws, including with regard to student disciplinary proceedings. See id. at ¶¶ 30, 34-37.

       Dr. Crew is, and was at all times relevant to this action, employed by CUNY and the

president of MEC. See id. at ¶ 54. Dr. Crew “is named in this action in his official capacity”

only. See id. at ¶ 55. Defendant Hardaway is, and was at all relevant times to this action,

employed by CUNY and MEC’s Chief Legal Officer. See id. at ¶¶ 49-51.

       Community Board 9 Meeting and Plaintiff’s Suspension

       This action initially arose out of a meeting of Community Board 9, a local governmental

entity that serves the neighborhoods of South Crown Heights, Prospect Lefferts Gardens,

Wingate and portions of North Flatbush, which took place on April 30, 2019 in a school

auditorium on the campus of MEC. See id. at ¶¶ 62, 75-76. Defendant New York City

Councilwoman Laurie Cumbo was present at the Community Board 9 meeting and, at some

point, plaintiff and Councilwoman Cumbo began arguing with one another, with raised voices.

See id. at ¶ 77. As the verbal altercation continued, plaintiff was approached by MEC campus

security and asked to leave the auditorium, which she eventually did. See id. at ¶ 78.

       The day after the Community Board 9 meeting, plaintiff received a notice from MEC

Dean and Defendant Alexis McLean that, based upon her conduct at the meeting, MEC was

temporarily suspending plaintiff under Article XV of the CUNY Bylaws, subject to a

disciplinary hearing. See id. at ¶ 80; see also Exhibit 10 to Compl.

       The Disciplinary Proceeding

       On May 3, 2019, plaintiff was presented by Dean McLean with the disciplinary charges

stemming from her conduct at the April 30, 2019 community board meeting, and was notified



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that there would be a disciplinary hearing concerning those charges before the Faculty Student

Disciplinary Committee (“FSDC”), per the CUNY Bylaws. See Ex. A at ¶¶ 89, 95-98, 112

(referencing the disciplinary charges that are attached as Exhibit 12 to the Compl.).

       The disciplinary hearing took place on May 20, 2019, after multiple adjournments, and it

was a closed hearing. See Ex. A at ¶¶ 104-105. On the day of the hearing, as plaintiff

acknowledges, she did not lodge any objection to the proceeding being closed, nor did she

request that it be opened. See id. at ¶ 107.

       Following the presentation of MEC’s case, plaintiff moved to dismiss the charges. See

id. at ¶¶ 113, 122-125. Ultimately, plaintiff’s motion was granted, the charges against her were

dismissed and it was determined that plaintiff would “receive no sanction.” See id. at ¶ 125.

       Plaintiff’s FOIL Requests and MEC’s Responses

       By way of a May 9, 2019 letter from plaintiff’s counsel, Fletcher submitted a request to

MEC, among other public offices, for records pursuant to the FOIL, Article 6, §§ 84-90 of the

New York Public Officers Law. See Ex. A ¶ 71; Exhibit 1 to Compl. Specifically, plaintiff

requested records related to her initial suspension following the April 30, 2019 incident and the

subsequent disciplinary process. Id.

       On September 5, 2019, as MEC’s Record’s Officer, Hardaway responded to plaintiff’s

FOIL request, and noted that MEC was denying the request pursuant to Public Officers Law §

87.2(g). See Ex. A at ¶ 72; Exhibit 1 to Compl. On September 16, 2019, plaintiff’s counsel

appealed that denial by submitting a letter to the General Counsel and Vice Chancellor for Legal

Affairs of CUNY. Id. The Interim General Counsel for CUNY granted plaintiff’s appeal in part,

determining that some of the documents previously withheld should be produced. Id. By way of

an October 11, 2019 email, plaintiff’s counsel submitted a second FOIL request to MEC for



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additional records. Id. On October 16, 2019, Hardaway executed a Certification pursuant to

FOIL, in which he certified that a diligent search had been conducted and responsive records

produced in response to the first FOIL request, and that there were no responsive records to the

second October 11, 2019 request. Id. No further action was taken by plaintiff with regard to her

FOIL requests following receipt of the October 16, 2019 Certification.

        Additional facts may appear as relevant in the Argument.

                                          ARGUMENT

        Where, as here, defendants file a motion to dismiss a complaint for “failure to state a

claim upon which relief can be granted,” pursuant to Fed. R. Civ. P. 12(b)(6), to survive such a

motion, a complaint must provide “sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.” See DiPizio v. Empire State Dev. Corp., 745 Fed. Appx. 385,

390 (2d Cir. 2018). In order to “nudge[] . . . claims across the line from conceivable to

plausible,” the allegations of the complaint “must raise a reasonable expectation that discovery

will reveal evidence of the wrongdoing alleged.” See Citizens United v. Schneiderman, 882 F.3d

374, 380 (2d Cir. 2018). A complaint will not be found to state a plausible claim where it

“merely asserts a sheer possibility that a defendant has acted unlawfully.” See DiPizio, 745 Fed.

Appx. at 390 (internal quotations marks and citation omitted). Further, while the court deciding

the motion “must accept all allegations in the complaint as true and draw all inferences in the

non-moving party’s favor,” it is not bound to accept as true legal conclusions which are couched

as factual allegations. See LaFaro v. New York Cardiothoracic Grp., PLLC, 570 F.3d 471, 475-

76 (2d Cir. 2009).

       For the reasons that follow, because the allegations of the Complaint fail to state a

plausible claim for relief with regard to Dr. Crew or Hardaway, plaintiff’s pleadings cannot



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survive this motion to dismiss, which should be granted in its entirety. See LaFaro, 570 F.3d at

476 (“Only a complaint that states a plausible claim for relief survives a motion to dismiss.”).

                                              POINT I

          ALL CAUSES OF ACTION AGAINST DR. CREW AND HARDAWAY
             IN THEIR OFFICIAL CAPACITY SHOULD BE DISMISSED
             AS REDUNDANT OF THE CLAIMS AGAINST MEC/CUNY

        Plaintiff has asserted claims against Dr. Crew solely in his official capacity as the

President of MEC, and against Mr. Hardaway, both individually and in his official capacity as

the Chief Legal Officer for MEC. See Ex. A at ¶¶ 49-53, 55. She has also brought suit against

MEC/CUNY and asserted against them all of the same causes of action that have been alleged

against Dr. Crew and Hardaway in their official capacities. Under such circumstances, the

official capacity claims against Dr. Crew and Hardaway are duplicative and redundant of those

brought against MEC/CUNY and, as such, should be dismissed.

        “Within the Second Circuit, where a plaintiff names both the [governmental entity] and

an official in his or her official capacity, district courts have consistently dismissed the official

capacity claims as redundant.” See Phillips v. Cty. of Orange, 894 F. Supp. 2d 345, 384 n.35

(S.D.N.Y. 2012); see also Guan N. v. NYC Dep’t of Educ., 2014 WL 1275487, at *8 (S.D.N.Y.

Mar. 24, 2014) (“[C]ourts generally dismiss official-capacity claims against a defendant if the

plaintiff has also sued the government entity that employs that defendant[.]”); Emmons v. City

Univ. of New York, 715 F. Supp. 2d 394, 408 (E.D.N.Y. 2010) (“The Court also dismisses with

prejudice plaintiff’s ADA and Rehab Act claims against the individual []CUNY employees in

their official capacities, because they are wholly redundant to plaintiff’s claims against []CUNY

itself.”). The reason for this well-settled rule is that, “official-capacity suits generally represent

only another way of pleading an action against an entity of which an officer is an agent, and



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an official-capacity suit is, in all respects other than name, to be treated as a suit against the

entity.” See Guan N., 2014 WL 1275487, at *8 (citations omitted). This duplicity, therefore, is

unnecessary and “an inefficient use of judicial resources.” See Guichard v. Town of

Brookhaven, 26 F. Supp. 3d 219, 227 (E.D.N.Y. 2014).

         As previously noted, plaintiff has named MEC and CUNY as parties (although they are

one and the same),3 in addition to suing Dr. Crew and Hardaway in their official capacities as

agents of MEC/CUNY. Further, each cause of action averred against Dr. Crew and Hardaway in

their official capacity has also been alleged against MEC/CUNY. Therefore, because “there is

no need for official capacity litigation when an individual can sue a government entity directly,”

and indeed plaintiff has done so in the instant case, the claims against Dr. Crew and Hardaway in

their official capacities should be dismissed as redundant. See Candelaria v. Cunningham, 2000

WL 798636, at *3 (S.D.N.Y. June 20, 2000); see also Kanderskaya v. City of New York, 11 F.

Supp. 3d 431, 435 (S.D.N.Y. 2014) (dismissing claims against Commissioner Kelly in his

official capacity as redundant because they were duplicative of other claims against the City of

New York); Fox v. State Univ. of New York, 497 F. Supp. 2d 446, 450 (E.D.N.Y. 2007)

(concluding that because the “State is the real party in interest for the plaintiff’s claims against

the individual defendants in their official capacities, it would be redundant to permit these claims

to proceed when the plaintiff already has a cause of action against the State”).

         For this reason alone, the causes of action asserted against Dr. Crew4 and Hardaway in

their official capacities should be dismissed.


3
  Under New York law, CUNY, and the senior colleges that make up CUNY, such as MEC, are considered “arms
of the state.” See Goonewardena v. New York, 475 F. Supp. 2d 310, 316 (S.D.N.Y. 2007) (“Senior colleges within
the CUNY system” which includes MEC, “are considered ‘arms of the state.’” (citation omitted)).
4
  Because Dr. Crew is only being sued in his official capacity, should the Court choose to dismiss all of the official
capacity claims, Dr. Crew would no longer be a party to this litigation.




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                                            POINT II

              PLAINTIFF’S CLAIMS AGAINST DR. CREW AND HARDAWAY
               UNDER 42 U.S.C. § 1983 AND RELATED NEW YORK STATE
              CONSTITUTIONAL PROVISIONS FAIL AS A MATTER OF LAW
                            AND SHOULD BE DISMISSED

       Because neither Dr. Crew nor Hardaway were involved in the acts which formulate

plaintiff’s claims for First Amendment retaliation and for violations of the due process clause

(asserted through 42 U.S.C. § 1983), neither claim can stand against the Moving Defendants. In

addition, the New York State Constitutional claims, which are merely duplicative of the federal

constitutional claims, cannot stand as a matter of law.

       The Complaint alleges merely that Dr. Crew was the President of the College, but not

that he took specific action that culminated in any of the alleged unlawful conduct. Mr.

Hardaway, as it relates to the federal claims, is only alleged to have received an email. The

Complaint is bereft of any allegation that Mr. Hardaway took any specific action. Even an

inference that Mr. Hardaway took action based upon the email requires some plausible allegation

that Mr. Hardaway did something. The Complaint makes no such allegation. Accordingly,

plaintiff’s claims pursuant to § 1983 fail because of the lack of personal involvement of these

defendants.

       Plaintiff’s procedural due process claim must also be dismissed because plaintiff had an

adequate post-deprivation remedy in the form of a New York CPLR Article 78 proceeding, she

failed to object to the lone procedural impropriety in which Hardaway is alleged to have taken

part and because plaintiff ultimately succeeded during the hearing, vitiating any claim that her

due process rights were violated.




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       A.      The Claims Under The New York State Constitution Are Redundant

       Counts One, Two and Three, in addition to asserting § 1983 claims for purported

violations of the federal constitution, also allege claims based on the same conduct under the

New York State Constitution. Such state law claims, however, are redundant of their federal

counterparts and, therefore, should be dismissed.

       The New York State Constitution only provides a private right of action “where remedies

are otherwise unavailable at common law or under § 1983.” See Allen v. Antal, 665 Fed. App’x.

9, 13 (2d Cir. 2016); see also Sullivan v. Metro. Transit Auth. Police Dep’t, 2017 WL 4326058,

at *10 (S.D.N.Y. Sept. 13, 2017) (“[T]here is no private right of action under the New York State

Constitution where, as here, remedies are available under § 1983.” (citations omitted));

Bloomingburg Jewish Educ. Ctr. v. Vill. of Bloomingburg, N.Y., 111 F. Supp. 3d 459, 482–83

(S.D.N.Y. 2015) (same). Further, it is important to note that “it is the availability of remedies

under § 1983, and not their success, that precludes a New York State Constitution claim.” See

Sullivan, 2017 WL 4326058, at *10 (citing Allen, 665 F. App’x. at 13 (affirming dismissal of

New York State Constitution claims because “alternative remedies were available under § 1983

and common law,” while at the same time affirming dismissal of § 1983 and common law

claims)) (other citation omitted).

       Thus, courts consistently dismiss claims under the New York State Constitution that are

“based on the same factual allegations as and seeks the same relief as” federal constitutional

claims. See Bloomingburg Jewish Educ. Ctr., 111 F. Supp. 3d at 483; see also Gilmore v.

Bouboulis, 2016 WL 4532146, at *9 (N.D.N.Y. Aug. 29, 2016) (dismissing due process claims

asserted under the New York State Constitution where plaintiff did not assert that a different

standard would apply to the state constitution claim, that different relief would be afforded from



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what is available under § 1983, and where the “factual allegations” underlying the federal and

state constitutional claims were “substantially identical”).

       Nowhere in the Complaint does plaintiff allege that a different standard applies to the

New York State constitutional claim, or that the New York State Constitution affords plaintiff

any relief that differs from that of her § 1983 claims. Indeed, the “factual allegations underlying

the federal and New York constitutional claims” are “identical.” See Mahone v. City of New

York, 2014 WL 1407702, at *7 (S.D.N.Y. Apr. 11, 2014). Under such circumstances, those

portion of Counts One through Three in which plaintiff asserts violations of the New York State

Constitution should be dismissed as redundant of the co-extensive § 1983 claims. See id.

(dismissing New York State Constitution claim where plaintiff did not seek any remedy not

available under § 1983, and both claims were predicated on identical factual allegations).

       B.      Plaintiff Fails To State A Claim For First Amendment Retaliation

        Plaintiff’s First Amendment retaliation claim fails because there are no allegations

establishing that the Moving Defendants played any role in the decision to bring disciplinary

charges or the other actions about which she complains.

       In order to maintain a First Amendment retaliation claim, Plaintiff must prove that: (1)

she engaged in constitutionally protected conduct; (2) she suffered an adverse action; and (3) a

causal relationship exists between the constitutionally protected conduct and the adverse action.

See Camacho v. Brandon, 317 F.3d 153, 160 (2d Cir. 2003). Additionally, in order to establish

individual liability as to Dr. Crew and Hardaway pursuant to § 1983, plaintiff must also show

that these defendants were acting under color of state law and that these defendants caused the

plaintiff to be deprived of a federal right. See Back v. Hastings on Hudson Union Free Sch.

Dist., 365 F.3d 107, 127 (2d Cir. 2004). Moreover, any finding of individual liability pursuant to



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§ 1983 is premised upon a finding that the individual defendants were personally involved in the

constitutional deprivation alleged. See id. Merely holding a high level position is insufficient to

establish liability for § 1983 purposes. See id.; Escobar v. City of New York, 2007 WL 1827414,

at *4 (E.D.N.Y. June 25, 2007).

       Personal involvement can be shown by establishing that: (1) the defendant participated

directly in the alleged violation; (2) the defendant, having been information of the violation, fails

to remedy the wrong; (3) the defendant created, or permitted to continue, a policy or custom

pursuant to which the alleged violations occurred; (4) the defendant was grossly negligent in

supervising subordinates who committed the wrongful act; or (5) the defendant exhibited

deliberate indifference by failing to act on information that the violation was occurring. See

Back, 365 F.3d at 127 (citation omitted); Grullon v. City of New Haven, 720 F.3d 133, 139 (2d

Cir. 2013).

       In Bahr v. City Univ. of New York/York College, 2016 WL 8711060, at *7 (E.D.N.Y.

Dec. 9, 2016), the court held that a plaintiff’s § 1983 claims against CUNY and York College

officers must be dismissed because he failed to adequately allege that the individual defendants

were personally involved in the events that allegedly deprived plaintiff of his federal rights.

Similarly, in Falcon v. City Univ. of New York, 2016 WL 3920223, at *10 (E.D.N.Y. July 15,

2016), the court dismissed claims against CUNY officials due to the lack of personal

involvement in the alleged discriminatory acts. This included CUNY’s President, for whom the

only substantive allegation was that he was CUNY’s President. See id.

       Here, plaintiff’s First Amendment retaliation claim is based upon the premise that, in

response to her protest of Councilwoman Cumbo, the College brought student disciplinary

charges against her. It is not alleged that Dr. Crew engaged in any conduct in furtherance of



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those charges. Nor could it be, because CUNY Bylaw § 15.4(f) provides that it is MEC’s Chief

Student Affairs Officer who is responsible for the issuance of charges. See Ex. B. There is and

could be no allegation that this is either Moving Defendant.

       At paragraphs 83-84 of the Complaint, it is alleged only that Dr. Crew did not make

certain determinations necessary for the College to institute the disciplinary charges. Absent

from these allegations, however, is any claim that Dr. Crew had knowledge that the charges were

being preferred or that his failure to issue these determinations was intentional on his part, as

they must be for there to have been personal involvement. Plaintiff also alleges various

improprieties during the course of the hearing. Dr. Crew is not alleged to have participated in

any of those alleged improprieties, nor is he alleged to have had knowledge of this conduct. As a

result, there is no allegation that Dr. Crew was personally involved in any of the constitutional

violations upon which plaintiff rests her First Amendment retaliation claim.

       With regard to Hardaway, plaintiff alleges that “MEC, acting through Dean McLean and

Johnathan Hardaway failed to comply with numerous basic procedural guarantees and the

CUNY Bylaws.” See Ex. A at ¶ 95. Plaintiff does not allege, however, that Hardaway was

involved in the decision to prefer the disciplinary charges. At paragraphs 109-110, plaintiff

more clearly states her complaint against Hardaway. Specifically, she alleges that he received an

email from Councilwoman Cumbo’s Chief of Staff requesting that the disciplinary hearing be

“closed” to the public. Plaintiff then alleges that Hardaway, and others, “put Councilwoman

Cumbo’s request into effect.” Plaintiff does not allege how this was done or what role Hardaway

played in that action. She merely claims generally that because he received the email, he must

have acted upon it. That is well below the threshold for establishing personal involvement in the

challenged act. See Falcon, 2016 WL 3920223, at *10.



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       Regardless, the CUNY Bylaws are dispositive on this issue. Section 15.4(q)(2) states

that “All faculty student disciplinary committee hearings are closed hearings unless the

respondent requests an open public hearing.” See Ex. B. At paragraph 107 of the Complaint,

plaintiff admits never seeking an open hearing from the committee chairperson, who had

discretion to rule on that request. See id. Accordingly, the First Amendment retaliation claim

against Hardaway must also be dismissed.

       C.      Plaintiff Fails To State A Plausible Violation of Due Process

       Plaintiff alleges procedural improprieties in the conduct of the hearing relating to her

suspension and disciplinary charges. Procedural due process applies only to liberty or property

interests protected by the Fourteenth Amendment. See Lima v. New York City Dep’t of Educ.,

2013 WL 3325002, at *2 (E.D.N.Y. July 1, 2013). In order to have a property interest in a

benefit, a party must have more than an abstract need or desire for it, the party must have a

legitimate claim of entitlement to it. See id. at *3 (citing Bd. of Regents of State Colleges v.

Roth, 408 U.S. 564, 577 (1972)); Finley v. Giacobbe, 79 F.3d 1285, 1296 (2d Cir. 1996).

Students facing a suspension or disciplinary action must be given some kind of notice and

afforded some kind of hearing. See Goonewardena v. New York, 475 F. Supp. 2d 310, 325

(S.D.N.Y. 2007).

       Plaintiff concedes that she received notice of the charges against her and was given a

hearing. See Ex. A at ¶¶ at 112-13; Exhibit 12 to Complaint. Regardless of her allegations about

the conduct at the hearing, her claim still must fail because, as stated at paragraph 125 of the

Complaint, she won at the hearing. See Garrido v. Coughlin, 716 F. Supp. 98, 102 (S.D.N.Y.

1989) (dismissing due process claim because, inter alia, plaintiff had succeeded in having

disciplinary charge dismissed). Thus, there is no constitutional deprivation to be remedied.



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       Even if she had not succeeded at the hearing, New York CPLR Article 78 provided

plaintiff with an adequate method to challenge the suspension or charges as arbitrary or

capricious. See CPLR § 7803; Attallah v. New York College of Osteopathic Medicine, 94 F.

Supp. 3d 448, 455 (E.D.N.Y. 2015); Goonewardena, 475 F. Supp. 2d at 325. The availability of

this adequate post-deprivation remedy means that there has been no constitutional violation. See

id. Here, Plaintiff could have, but did not, avail herself of the protections of Article 78. Her

failure to do so is fatal to her due process claim. See id.

       Assuming, arguendo, that Plaintiff could maintain her procedural due process claim

against Dr. Crew and Hardaway despite these deficiencies, there are not sufficient allegations

establishing either Moving Defendants’ personal involvement in the alleged due process

violations. As set forth above, Dr. Crew is not alleged to have had any role in the disciplinary

hearing. Thus, no claim may lie against him. See Falcon, 2016 WL 3920223, at *10.

       With regard to Hardaway, the only allegation is that he received an email regarding the

Councilwoman’s request that the hearing be closed to the public. The hearing was

presumptively closed to the public, see Ex. B at § 15.4(q)(2), and so this email is immaterial.

Plaintiff concedes that that she did not request that the hearing be made “open” to the public, as

was her right pursuant to the CUNY Bylaws, understanding that members of the public would,

consequently, not be able to attend. See Ex. A at ¶ 107. Stated differently, regardless of her

reasons, plaintiff knew that she had the right to make the objection and elected not to. As a

result, she knowingly waived any claim that this alleged procedural defect deprived her of due

process. See Morris v. New York City Employees’ Ret. Sys., 129 F. Supp. 2d 599, 609 (S.D.N.Y.

2001) (“knowing and voluntary waiver” requirement applies in civil context). Thus, as this was

the only alleged deprivation relating to the hearing in which Hardaway was involved, there can



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be no claim against him sounding in due process. See Morales v. New York, 22 F. Supp. 3d 256,

277 (S.D.N.Y. 2014) (where plaintiff willingly abandoned arguments or avenues of redress

during hearing, no due process claim lies).

       D.       Plaintiff Fails To Allege A Claim Against Dr. Crew And Hardaway For The
                Manufacturing Of False Evidence In Violation Of The 14 Amendment

       Plaintiff’s third cause of action for the manufacturing of allegedly false evidence appears

to be asserted only against defendants McLean, MEC and CUNY. It is not alleged, nor could it

be, that Dr. Crew or Hardaway were personally involved with the alleged falsification of

evidence. To the extent, however, that this cause of action is asserted against them, for the

reasons articulated above, the cause of action fails due to the lack of personal involvement by

these defendants. See Falcon, 2016 WL 3920223, at *10. For that reason, the third cause of

action, to the extent it is even alleged against Dr. Crew and Hardaway, must be dismissed as

against them.

                                              POINT III

                 THE STATE LAW CLAIMS FOR ABUSE OF PROCESS,
                  TORTIOUS INTERERENCE WITH CONTACT AND
                  BREACH OF CONTRACT ARE FATALY FLAWED
                        AS TO DR. CREW AND HARDAWAY

       In Counts Four through Six, plaintiff asserts “against all Defendants” three causes of

action sounding in state law: (1) State law abuse of process; (2) tortious interference with

contract; and (3) breach of contract. As an initial matter, should the Court agree, for the above

stated reasons, that all of the federal law causes of action against Dr. Crew and Hardaway should

be dismissed, the Moving Defendants respectfully request that the Court decline to exercise

supplemental jurisdiction over the remaining state law claims as to them. See, e.g., Washington

v. Westchester Cty. Dep’t of Corr., 2015 WL 408941, at *11 (S.D.N.Y. Jan. 30, 2015) (“Having



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now dismissed the federal claim, the Court exercises its discretion under 28 U.S.C. § 1367 to

decline jurisdiction over Plaintiff’s remaining state-law claims.”).

        Regardless of whether the Court entertains the prospect of exercising supplemental

jurisdiction over the state law claims, each of the state law causes of action, as pled, is fatally

flawed as a matter of law, and, therefore, should be dismissed.

        A.      Plaintiff’s State Law Abuse Of Process Claim Fails As A Matter Of Law

        In Count Four of the Complaint, Plaintiff asserts a claim for abuse of process under New

York law, and includes a formulaic recitation of the basic elements of such a claim. However,

plaintiff utterly fails to plead sufficient factual allegations to state a facially plausible claim for

abuse of process. As a result, Count Four as to Dr. Crew and Hardaway should be dismissed.

        To adequately plead a claim for abuse of process under New York law, a plaintiff must

allege: (1) use of a regularly issued legal process, either civil or criminal; (2) with the intent to

do harm without excuse or justification; and (3) the use of process in a “perverted manner” to

obtain a collateral objective. See Korova Milk Bar of White Plains, Inc. v. PRE Properties, LLC,

2013 WL 417406, at *15–16 (S.D.N.Y. Feb. 4, 2013) (citations omitted); see also Klass v.

Frazer, 290 F. Supp. 2d 425, 426 (S.D.N.Y. 2003) (describing the same elements). Courts have

defined the necessary legal process as a “direction or demand that the person to whom it is

directed perform or refrain from the doing of some prescribed act.” See Korova Milk Bar, 2013

WL 417406, at *15 (citation omitted). Further, “the legal process must have been issued by or

filed in a court.” See id. (citation omitted). As for the collateral objective prong, it requires that

the “pursuit” of the collateral objective “occur after the process is issued.” Id. at *16 (emphasis

in original); see also Mosdos Chofetz Chaim, Inc. v. RBS Citizens, N.A., 14 F. Supp. 3d 191, 213

(S.D.N.Y. 2014) (same).



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        Plaintiff fails to plead a cause of action for abuse of process under New York law for

multiple reasons. First, while only vaguely referenced, it appears that the “legal process” placed

at issue by plaintiff is the disciplinary proceedings initiated against plaintiff by CUNY. See Ex.

A at ¶¶ 167-171. Such a proceeding is “not equivalent of process filed in a court,” i.e., a court

proceeding, and therefore, for this reason alone, plaintiff’s abuse of process claim necessarily

fails. See Nickerson v. Commc’n Workers of Am. Local 1171, 2005 WL 1331122, at *8

(N.D.N.Y. May 31, 2005) (concluding that charges filed with the union against the former union

president, a “trial” held by the union as to those charges and a New York State Department of

Labor investigation did not constitute “process” for an abuse of process claim, and specifically

the “trial” was “not equivalent of process filed in a court”); see also Korova Milk Bar, 2013 WL

417406, at *16 (determining that a hearing before the New York State Liquor Authority

regarding the revocation of plaintiff’s liquor license “did not fall within the definition of

‘process’ . . . because it is not a court proceeding”).

        Second, even assuming that the at-issue disciplinary process could be said to fall within

the definition of “process” for purposes of an abuse of process claim under New York law, for

the reasons set forth in Point II, supra, absent from plaintiff’s pleadings are factual allegations

asserting that Dr. Crew or Hardaway had any involvement in the FSDC hearing that took place,

after which the charges against plaintiff were dismissed. See Ex. A at ¶¶ 95-126. At most,

Plaintiff alleges, in the most speculative of terms, that through McLean and Hardaway, MEC did

not follow certain procedures in noticing and conducting the disciplinary hearing, without any

specificity as to Hardaway’s involvement. Thus, having failed to allege that Dr. Crew and

Hardaway were actually involved in the legal process at issue, the abuse of process claim should

be dismissed. See Sullivan, 2017 WL 4326058, at *9 (dismissing abuse of process claim where



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individual defendant police officers were not alleged to have been involved in the legal process

at issue, which was the prosecution of plaintiff, rather it was the District Attorney who controlled

that process); see also Gilman v. Marsh & McLennan Companies, Inc., 868 F. Supp. 2d 118, 133

(S.D.N.Y. 2012) (concluding that speculative allegations of defendants involvement in the legal

process at issue was “insufficient to state a plausible claim for abuse of process”).

       The final fatal flaw in plaintiff’s abuse of process claim is that plaintiff fails to allege any

pursuit of a collateral objective that occurred after the legal process was issued. In other words,

plaintiff fails to allege a “post-commencement use of process.” See Mosdos Chofetz Chaim, Inc.,

14 F. Supp. 3d at 213. Instead, as pled, plaintiff relies solely upon the commencement of the

disciplinary hearing in asserting that that process was used to “chill core First Amendment

protest and speech.” See Ex. A at ¶¶ 167-169. Plaintiff makes no assertion that the disciplinary

proceeding, after initiated, was subsequently used to pursue defendants’ purported collateral

objective. On this additional basis, therefore, plaintiff’s abuse of process cause of action should

be dismissed as to Dr. Crew and Hardaway. See Mosdos Chofetz Chaim, Inc., 14 F. Supp. 3d at

213 (dismissing an abuse of process claim which “relied solely on the allegation that

[]Defendants ‘commenc[ed] the foreclosure action,’” but did not allege, as is required, that the

action was “subsequently used . . . in some way to pursue the collateral objective”).

       B.      Plaintiff Fails To Plausibly Plead A Claim For Tortious Interference With
               Contract Against Dr. Crew And Hardaway

       Plaintiff asserts in Count Five of the Complaint that “all Defendants,” including Dr. Crew

and Hardaway, intentionally interfered with Plaintiff’s contractual rights under CUNY’s Bylaws.

However, as with the other state law claims, the Complaint fails to state a claim for such relief

that is plausible on its face and which, accordingly, should be dismissed.




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       Pursuant to New York law, to adequately plead a cause of action for tortious interference

with a contract, a plaintiff must allege the following: (1) the existence of a valid contract

between the plaintiff and a third party; (2) the defendant’s knowledge of the contract; (3) the

defendant’s intentional procurement of the third-party’s breach of the contract without

justification; (4) actual breach of the contract; and (5) damages resulting therefrom.” See

Plasticware, LLC v. Flint Hills Res., LP, 852 F. Supp. 2d 398, 404 (S.D.N.Y. 2012) (quoting

Kirch v. Liberty Media Corp., 449 F.3d 388, 401–02 (2d Cir. 2006)) (other citation omitted).

Plaintiff’s allegations are fatally deficient with respect to several of these elements.

       First, the tortious interference with contract claim should be dismissed because Dr. Crew

and Hardaway are not strangers to the purported implied contract they are alleged to have

interfered with, but rather are agents of MEC/CUNY, one of the alleged parties to that contract.

It is well-settled under New York law that “only a stranger to a contract, such as a third party,

can be liable for tortious interference with a contract.” See Minetos v. City Univ. of New York,

925 F. Supp. 177, 187 (S.D.N.Y. 1996) (quoting Koret, Inc. v. Christian Dior, S.A., 161 A.D.2d

156, 157 (1st Dep’t 1990)); see also Rockland Exposition, Inc. v. All. of Auto. Serv. Providers of

New Jersey, 894 F. Supp. 2d 288, 336 (S.D.N.Y. 2012) (“A claim for tortious interference with a

contract must be based on a non-party improperly interfering with a contract between two

contracting parties, and cannot be based on the actions of a director or officer in his official

capacity.” (internal quotation marks and citations omitted)).

       Here, Plaintiff asserts that the CUNY Bylaws are part of the purported implied contract

between MEC/CUNY and its students, including plaintiff, and that “Plaintiff’s contractual

rights” under those Bylaws were violated by the actions of defendants, including Dr. Crew and

Hardaway. However, Dr. Crew, as President of MEC, and Hardaway, as MEC’s Chief Legal



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Officer, can hardly be said to be “strangers” to the CUNY Bylaws, but rather are agents of

CUNY, through which Plaintiff seeks to hold MEC/CUNY responsible for breach of the implied

contract by the actions they took in their official capacity. For this reason alone, therefore,

plaintiff’s tortious interference with contract claim should be dismissed as to Dr. Crew and

Hardaway. See Minetos 925 F. Supp. at 187-88 (concluding that because the individual

defendants “are all professors in Hunter College’s Music Department,” they “cannot be liable for

tortious interference with contractual relations under New York State law since they are agents

of Hunter College,” and therefore not strangers to the contract at issue); see also Nu-Life Constr.

Corp. v. Bd. of Educ. of City of New York, 204 A.D.2d 106, 107 (1st Dep’t 1994) (“Plaintiff has

failed to produce evidence . . . to prove that Horowitz was at any time acting other than as an

agent of the Board, or to show that Horowitz committed any independent tort.”).

       Second, Plaintiff has not sufficiently alleged that Dr. Crew and Hardaway knew about the

purported “implied contract” that plaintiff alleges existed between herself and MEC/CUNY via

the CUNY Bylaws. A tortious interference of contract claim “cannot survive a motion to

dismiss by making merely a ‘conclusory assertion’ of knowledge,” rather a plaintiff “must

‘provide specific allegations’ of the defendant’s [actual] knowledge” of the specific contract.

See Medtech Prods. Inc. v. Ranir, LLC, 596 F. Supp. 2d 778, 796, 813 (S.D.N.Y. 2008). Here,

all that Plaintiff avers as to knowledge is that, “upon information and belief, all Defendants

know of the CUNY Bylaws.” See Ex. A at ¶ 176. Simply stating a general knowledge of the

CUNY Bylaws is a far cry from asserting “specific allegations” of knowledge of the implied

contract, and is nothing more than “mere speculation,” requiring dismissal of the tortious

interference of contract claim. See Medtech Prods. Inc., 596 F. Supp. 2d at 796-97 (rejecting

plaintiff’s wholly conclusory and general allegation that defendant “knew of the contracts at



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issue”); Boehner v. Heise, 734 F. Supp. 2d 389, 404 (S.D.N.Y. 2010) (concluding that plaintiff

failed to demonstrate “that defendants knew of any contracts that Plaintiffs had with their

customers”).

       Finally, plaintiff has failed to adequately allege that Dr. Crew and Hardaway took any

“direct” action against plaintiff for the purpose of intentionally interfering with the alleged

implied contract between MEC/CUNY and herself. “To satisfy the third prong of the test,

Plaintiffs must show Defendants’ direct interference with a contract.” See Boehner, 734 F. Supp.

2d at 404. This requires a defendant to “have directed some activities toward the [parties] whose

contracts are alleged to have been breached.” See Id. (collecting cases) (citations omitted). This

element, as with all elements of this cause of action, must be supported by “more than mere

speculation.” See Clean Cloal Techs., Inc. v. Leidos, Inc., 377 F. Supp. 3d 303, 319 (S.D.N.Y.

2019) (“[T]o avoid dismissal of a tortious interference with contract claim a plaintiff must

support his claim with more than mere speculation.”).

       With regard to Dr. Crew, plaintiff does not assert that he “intentionally interfered with

Plaintiff’s contractual rights under the CUNY Bylaws.” See Ex. A at ¶ 173. Thus, as to Dr.

Crew, this cause of action must be dismissed. Similarly, all that is alleged as to Hardaway is the

wholly conclusory averment that he “intentionally interfered” with plaintiff’s contractual rights,

with a reference to an earlier portion of the complaint. See id. at ¶¶ 173-77 (referencing back to

¶¶ 95-126). However, in that earlier portion of the Complaint, there are only three references to

Hardaway, in which plaintiff makes only the most conclusory and speculative of allegations:

that “MEC, through Dean McLean and Johnathon Hardaway[,] failed to comply with numerous

basic procedural guarantees and the CUNY Bylaws”; and that after Dean McLean received an e-

mail from Councilwoman Cumbo’s Chief of Staff, on which Hardaway was copied, requesting



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that the disciplinary hearing be closed to the public, Dean McLean, Hardaway and any other

unnamed members of the MEC’s “senior leadership” with whom this request was shared,

ensured that the hearing was closed. See id. at ¶¶ 95, 109-110. Absent from the Complaint is

any specification as to any “direct” action that Hardaway he took against plaintiff or any third-

party for purposes of causing a breach of the implied contract, including with regard to ensuring

that the hearing was closed or that other procedural requirements were disregarded. See, e.g.,

Plasticware, 852 F. Supp. 2d at 404 (dismissing tortious interference with contract claim where,

inter alia, “Plaintiff does not allege that Defendant took any actions toward third parties with

which Plaintiff had contracts”); B & M Linen Corp. v. Kannegiesser USA, Corp., 679 F. Supp.

2d 474, 485 (S.D.N.Y. 2010) (“[T]he defendant’s interference must be direct: the defendant must

direct some activities towards the third party . . . .” (internal quotation marks and citation

omitted)). Accordingly, because plaintiff has failed to plead this necessary element of a tortious

interference with contract cause of action, Count Five should be dismissed as to both Dr. Crew

and Hardaway.

       C.      A Breach of Contract Claim Has Not Been Adequately Pled As To Hardaway
               And Dr. Crew

       In Count Six of the Complaint, Plaintiff asserts a claim of breach of contract, and in the

heading for that Count, states it is alleged against all defendants. See Ex. A at ¶¶ 167-180.

However, within the specific allegations, plaintiff asserts that “the CUNY Bylaws exist as a

contract between CUNY/MEC and their students,” and that implied contract was breached by the

“CUNY/MEC Defendants,” which is believed to be a reference to just MEC and CUNY. Thus,

it does not appear that plaintiff is in fact alleging breach of contract on the part of Dr. Crew and

Hardaway, and for good reason.




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        It is axiomatic that a plaintiff “may not assert a cause of action . . . for breach of contract

against a party with whom it is not in privity.” See Yucyco, Ltd. v. Republic of Slovenia, 984 F.

Supp. 209, 215 (S.D.N.Y. 1997) (quoting Perma Pave Contracting Corp. v. Paerdegat Boat &

Racquet Club, Inc., 156 A.D.2d 550, 551 (2d Dep’t 1989)) (other citations omitted). Rather,

“[o]nly those who are parties to a contract may be held liable for breach of that contract.”

Oberstein v. SunPower Corp., 2010 WL 1705868, at *4 (E.D.N.Y. Apr. 28, 2010).

        Here, as plaintiff acknowledges, the purported implied contract is “between CUNY/MEC

and their students”; not between plaintiff and any of the individual defendants. See Ex. A at ¶¶

146-48, 172. Thus, because Dr. Crew and Hardaway have never been a party to any contract

with plaintiff, any claim for breach of contract necessarily fails as a matter of law. See Kretzmon

v. Erie Cty., 2013 WL 636545, at *8 (W.D.N.Y. Feb. 20, 2013) (concluding that because the

“settlement agreement was between Plaintiff and Erie County only,” the attempt to “assert her

breach of contract claim against” individual officials of the County Sheriff’s Office necessarily

fails for want of privity).

                                              POINT IV

                 THE CAUSE OF ACTION FOR VIOLATIONS OF THE
               NEW YORK FREEDOM OF INFORMATION LAW SHOULD
                 BE DISMISSED AS TO DR. CREW AND HARDAWAY

        In her Seventh and final Cause of Action, plaintiff asserts against all defendants,

including Dr. Crew and Hardaway, that they collectively violated the FOIL by wrongfully

withholding documents that had been requested by plaintiff via a properly submitted FOIL

request. This cause of action is entirely improper to assert before this Court, and even if it were

appropriate, such a claim is time-barred.




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          In an unbroken line of cases, the courts of this circuit have held that the appropriate

vehicle for pursing an alleged violation of the FOIL, N.Y. Public Officers Law §§ 84-90,

including to obtain attorney’s fees and litigation costs, is to commence a proceeding in state

court pursuant to CPLR Article 78 over which federal courts have no jurisdiction. See, e.g.,

Hayes v. Perotta, 751 F. Supp. 2d 597, 602 (S.D.N.Y. 2010) (“Under FOIL, challenges of

information denials must be brought in an Article 78 proceeding.”); Yip v. Bd. of Trustees of

State Univ. of New York, 2004 WL 2202594, at *7 (W.D.N.Y. Sept. 29, 2004) (holding that

FOIL Claims, “may be enforced by means of a proceeding pursuant to N.Y. C.P.L.R. Article

78,” and this court “has no jurisdiction over an Article 78 proceeding”); Lluberes v. City of Troy,

2014 WL 1123413, at *22 (N.D.N.Y. Mar. 21, 2014) (“The appropriate vehicle for plaintiffs to

pursue their FOIL requests is to commence an Article 78 proceeding. This Court does not have

jurisdiction over an Article 78 proceeding.”). Thus, plaintiff’s FOIL claim must be dismissed as

she has not commenced an Article 78 proceeding.

          Further, even if this was the appropriate court in which to lodge a claim for violations of

the FOIL, those claims are untimely. Pursuant to CPLR § 217(1), all challenges brought under

Article 78 must be “filed ‘within four months after the determination to be reviewed becomes

final.’” See Hayes, 751 F. Supp. 2d at 602 (citing § 217(1)). Here, the last possible date from

which plaintiff’s FOIL claim could be said to accrue from is October 16, 2019, the date on which

Hardaway issued a certification on behalf of MEC stating that a diligent search had been

undertaken and all documents responsive to plaintiff’s FOIL requests had been produced.5

Therefore, to be timely, plaintiff’s FOIL claim had to be filed by February 16, 2020. Because

the Complaint was filed on June 1, 2020, plaintiff’s FOIL claim is indisputably untimely and


5
    The Certification Pursuant to the FOIL of Johnathon Hardaway, dated October 16, 2019, is attached as Exhibit 6


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should be dismissed.6 See Hayes, 751 F. Supp. 2d at 602. (“Because Plaintiff did not file this

claim until March 2009,” after making being denied documents he requested from the City in

2006 and 2007, “and because he does not appear to have ever brought an Article 78 proceeding,

this claim is dismissed.”); Yip, 2004 WL 2202594, at *7 (finding plaintiff’s FOIL claim untimely

where “state official’s denial of plaintiff’s FOIL request is alleged to have occurred on or about

February 19, 2003, requiring any Article 78 proceeding seeking review of that denial to be

commenced by June 19, 2003,” but where the complaint was filed on August 22, 2003).

                                                CONCLUSION

         For all of the reasons set forth above, Defendants Dr. Crew and Hardaway respectfully

request that the Court grant their motion to dismiss all of the causes of action alleged against

them, with prejudice, together with such other and further relief as the Court may deem just and

proper

Dated: Melville, New York
       December 1, 2020

                                                          LAMB & BARNOSKY, LLP


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to the Complaint (ECF No. 1-6).
6
  It should also be noted that February 16, 2020 was before Governor Cuomo issued Executive Order 202.8 on
March 20, 2020, which was the first of several Executive Orders that acted to toll New York’s statute of limitations
in response to COVID-19.


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